

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-70,567-01






EX PARTE WILLIAM JOSEPH DEE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 05-1160 IN THE 2ND 25TH DISTRICT COURT


FROM GUADALUPE COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of thirteen counts
of aggravated sexual assault and thirteen counts of indecency with a child.  Applicant was sentenced
to forty years' imprisonment on each aggravated sexual assault count, twenty years' imprisonment
on counts 10, 12, 16, and 21 for indecency with a child, and ten years' imprisonment for the other
nine counts of indecency with a child.  The Fourth Court of Appeals affirmed his convictions.  Dee
v. State, No. 04-06-134-CR (Tex. App.-San Antonio, delivered October 11, 2006).

	Applicant contends that his trial counsel rendered ineffective assistance by failing to convey
a plea offer from the State, specifically a twenty-five year offer on the day before trial,  and by failing
to research and present mitigating evidence of his abuse as a child and his history of mental illness.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d). 

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether or not counsel conveyed the State's
last offer, from the eve of trial, of twenty-five years and the possibility of dismissing some counts
to Applicant prior to trial.  The trial court shall make findings of fact as to whether the performance
of Applicant's trial attorney was deficient and, if so, whether counsel's deficient performance
prejudiced Applicant.  The trial court shall also make any other findings of fact and conclusions of
law that it deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus
relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed:   September 24, 2008

Do not publish


